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                            UN ITED STA TES D ISTRICT CO URT FOR TH E
                                 SOU TH ERN D ISTRICT O F FLO RID A
                                           M iam iD ivision

                                C aseN um ber:18-20596-ClV -M O R EN O

   JON A TH AN M U LLAN E,

                   Plaintiff,


   BA RCLA Y S BAN K O F DELA W ARE,IN C .,

                   Defendant.


          O RD ER G R AN TING PLA IN TIFF'S V ERIFIED M O TIO N FO R R EC U SA L

          THIS CAUSE camebeforetheCourtupon Plaintiff'sVeritied M otion forRecusal(D.E.
   39),tiled on April13,2018.THE COURT haseonsideredthemotion,thepertinentportionsof
   therecord,and being otherwise fully advised in thepremises,itis

          AD JUD GE D thatthe m otion is GRAN TED .The undersigned Judge,to w hom the cause

   was assigned, recuses him self and refers this cause to the Clerk of C ourt for reassignm ent

   pursuantto28U.S.C.j455andLocalRule3.6.
          ln grantingthemotion,theundersignedjudgeistroubled bythelackoftruthfulnessofa
   future m em ber of the bar.For exam ple,the m otion states that the Plaintiff, a second-year 1aw

   studentand an intern atthe United StatesAttorney'sOffice was ûdwearing shortsand flip-flops''

   on the day thathe entered cham bersto inquire asto how he could file a kspetition form andam us''

   because the Court had not ruled on a m otion for default.l How ever, according to the log of

   attendance atthe U nited States Attorney's Office,Plaintiffreported thathe w orked from 11:00

   AM to 5:00 PM on the day in question,Friday,M arch 23,the date that cham bers w as short-

  lA motionto dism issw asfiled, precludingany defaultinthiseight-w eek-oldcasethatwasreferred to M agistrate
  Judge Louis.
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   staffed due to traffic because ofthe U ltra concertin M iam i.The Courtw illask the U nited States

   M arshallto retrieve the surveillance tapesofthe building and cham bersfrom thatdate to see ifin

   factthe Plaintiff w as (din shorts and flip-tlops,''or w as dressed as som eone w orking atthe U .S.

   A ttorney's Oftice.

          Theundersignedjudgedidsetahearingto stronglyadvisethePlaintiffthathisreputation
   w as m ore im portantthan the case because he interned atthe U nited States Attorney's office and

   willbeseeking admission totheFloridaBar.Theundersignedjudge continuesto beconcerned
   w ith the law student's lack of aw areness of what ex-parte com m unications are and the

   im portance of candorby litigants,particularly future law yers.

          Because ofthese concerns,the Courtw illgrantthe Plaintifp sm otion to recuse.H owever,

   the Courtreserves the right upon further investigation to referthe m atter to the Florida B ar,the

   U niversity of M iam i School of Law ,and the U nited States Attorney for any action they deem

   appropriate.

          DO N E AN D O RDERED in Cham bers atM iam i,Florida,this                 ofApril2018.

                                                                  '
                                                            v
                                                            /

                                                FED ER    A .M
                                                UN ITED STA S DISTR ICT JU D G E

   Copies furnished to:

   U nited States M agistrate Judge Lauren F.Louis

   C ounselofRecord

   Jonathan M ullane
   1l00 S.M iam iA venue
   #2806
   M iam i,FL 33130
   PRO SE
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          ln accordance w ith the LocalRules forthe Southern DistrictofFlorida,providing forthe

   random and equalallotm entofcases,thiscause w illbe reassigned to the calendarofthe United

   StatesD istrictJudge Robert N. Scola, Jr.                .

          Copiesofthis Order shallbe served on allpartiesofrecord by the U nited States M ail.

   A 11docum entsforfiling in this case shallcarry the following case num berand designation:

   18-cv-20596-Scola


          By Orderofthe Courtdated this      16    ofApril2018.




                                                                STEVEN M. LARIMORE
                                                                Clerk of Court


                                                                by: Valerie Kemp
                                                                    Deputy Clerk
